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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

          Plaintiff,

    V.

 MICHAEL KUSEK, JILL KUSEK,
 ONEIDA COUNTY WISCONSIN,                                            Case No. l 8-cv-867-jdp
 WISCONSIN DEPARTMENT OF REVENUE,
 WISCONSIN PUBLIC SERVICE,
 RHINELANDER DENTAL LLC, SACRED
 HEART ST. MARY'S HOSPITAL I and
 MINISTRY MEDICAL GROUP NORTHERN,

          Defendants.


                                          JUDGMENT


         IT IS ORDERED AND ADJUDGED that default judgment is entered in favor of

plaintiff United States of America as follows:

     ( 1) against defendant Michael Kusek on Count I of the complaint for recovery of

            federal unemployment tax liabilities, for tax years 2005, 2006, 2007, 2008, ~009,

            2010, and 2011, in the amount of $2,221.19 as of March 1, 2019, plus any

            statutory fees and interest that continue to accrue from that date;

     (2) against Michael Kusek on Count II of the complaint for recovery of federal

            employment tax liabilities, for tax years 2003, 2004, 2005, 2006, 2007, 2008,

            2009, 2010, 2011, and 2012 in the amount of $339,516.96 as of March 1, 2019,

            plus any statutory fees and interest that continue to accrue from that date; and

     (3) against defendants Michael Kusek, Jill Kusek, Wisconsin Department of Revenue,

            Wisconsin Public Service, Rhinelander Dental, Sacred Heart St. Mary's Hospital I,

            and Ministry Medical Group Northern on Count III of the complaint, as follows:
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              (a) the United States' federal tax liens are valid and subsisting liens attached

                   to all property and rights to property of Michael Kusek, including the real

                   property located at 4085 County Hwy W, Rhinelander, Wisconsin;

              (b) the federal tax liens are enforced against the property at 4085 County

                   Hwy W, and the property may be sold to satisfy Michael Kusek's tax

                   liabilities;

              (c) the federal tax liens can be enforced against both Michael Kusek's interest

                   and Jill Kusek's marital interest in the property at 4085 County Hwy W,

                   and Jill Kusek is not entitled to any of the net proceeds from any sale of

                   the property; and

              (d) Wisconsin Department of Revenue, Wisconsin Public Service,

                   Rhinelander Dental LLC, Sacred Heart St. Mary's Hospital I, and

                   Ministry Medical Group Northern have no rights, claims, or interests in

                   the property;



       IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff United States of America on Count III of the complaint as follows:

     (I) the United States' tax liens are valid liens and attached to the property located at

          4085 County Hwy W, Rhinelander, Wisconsin (the "Property"), and those liens

          may be enforced against the Property;

     (2) the Property may be sold;

     (3) Oneida County has an interest in the Property by virtue of Michael Kusek and Jill

          Kusek's failure to pay property taxes in the amount $6,752.85 as of April 22, 2019,

          plus any interest and penalty that may accrlie until paid in full, in the form of tax

         warrants issued against Michael Kusek and Jill Kusek; and

     (4) by virtue of the interest described above, Oneida County's tax liens are senior to

          the United States federal tax liens and Oneida County is entitled to be paid first

          from the net proceeds from any sale of the Property.
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Approved as to form this   J../Tll day of June, 2019.


James D. Peterson
District Judge



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Peter Oppeneer                                          Date /
Clerk of Court
